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EXHIBIT H-1
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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


IN RE: PHARMACEUTICAL INDUSTRY                   )    MDL NO. 1456
AVERAGE WHOLESALE PRICE                          )
LITIGATION                                       )    CIVIL ACTION: 01-CV-12257-PBS
                                                 )
                                                 )    Judge Patti B. Saris
THIS DOCUMENT RELATES TO                         )
U.S. ex rel. Ven-A-Care of the Florida Keys,     )    Magistrate Judge Marianne B. Bowler
Inc. v. Abbott Laboratories, Inc., et al.        )
No. 06-CV-11337-PBS                              )


                        NOTICE OF DEPOSITION OF IRA BURNEY


       PLEASE TAKE NOTICE that, pursuant to Rule 30(b)(1) of the Federal Rules of Civil

Procedure, Abbott Laboratories, Inc. (“Abbott”) by its undersigned attorneys, will take the

deposition of Ira Burney.

       The deposition will take place before a notary public, or any other officer authorized to

administer oaths, at Jones Day, 51 Louisiana Avenue, Washington, D.C., on October 14, 2009

beginning at 9:00 a.m. and continuing on successive days as necessary. The attached subpoena

directs the witness to appear for deposition. The deposition will be taken upon cross-

examination.

       Such deposition will be recorded by stenographic and/or sound and visual means. The

deposition is being taken for the purposes of discovery, for use at trial, and for such other

purposes as permitted under the Federal Rules of Civil Procedure.
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Dated: September 30, 2009             /s/ David S. Torborg_______
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                                     Brian J. Murray
                                     JONES DAY
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                                     Chicago, Illinois 60601
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                                     Counsel for Defendant Abbott Laboratories, Inc.




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                                 CERTIFICATE OF SERVICE

        I, David S. Torborg, an attorney, hereby certify that I caused a true and correct copy of

the foregoing NOTICE OF DEPOSITION OF IRA BURNEY to be served upon all counsel of

record electronically by causing same to be posted via LexisNexis, this 30th day of September,

2009.


                                               /s/ David S. Torborg
                                              David S. Torborg




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